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 9
                            IN THE UNITED STATES DISTRICT COURT
10
                         FOR THE EASTERN DISTRICT OF CALIFORNIA
11
                                     SACRAMENTO DIVISION
12

13

14    CALIFORNIA DEPARTMENT OF TOXIC                   2:14-cv-00595-WBS-EFB
      SUBSTANCES CONTROL and the TOXIC
15    SUBSTANCES CONTROL ACCOUNT,                   DECLARATION OF MCKINLEY LEWIS,
                                                    JR., IN SUPPORT OF PLAINTIFFS’
16                                      Plaintiffs, APPLICATION FOR ENTRY OF

17                  v.                              DEFAULT JUDGMENT BY COURT
                                                    AGAINST DEFENDANT COLLINS &
18                                     Defendants. AIKMAN PRODUCTS, LLC

19                                                     FED. R. CIV. P. 55(b)
      JIM DOBBAS, INC., a California
20    corporation; CONTINENTAL RAIL, INC.,             Date: September 23, 2019
      a Delaware corporation; DAVID VAN                Time: 1:30 p.m.
21    OVER, individually; PACIFIC WOOD                 Place: Courtroom 5, 14th Floor
      PRESERVING, a dissolved California                      501 I Street
22    corporation; WEST COAST WOOD                            Sacramento, CA 95814
      PRESERVING, LLC., a Nevada limited
23    liability company; and COLLINS &                 Action Filed: March 3, 2014
      AIKMAN PRODUCTS, LLC, a Delaware
24    limited liability company,
                                    Defendants.
25

26    AND RELATED COUNTERCLAIMS AND
      CROSS-CLAIMS
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                                                  1

     DECL. OF MCKINLEY LEWIS, JR., IN SUPPORT OF PLAINTIFFS’ APPLIC. FOR ENTRY BY COURT OF
     DEFAULT JUDGMENT AGAINST DEF. COLLINS & AIKMAN PRODUCTS, LLC (2:14-cv-00595-WBS-EFB)
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 1   I, McKinley Lewis, Jr., declare as follows:

 2           1.       I make this declaration in support of the Application for Entry of Default Judgment

 3   by Court Against Defendant Collins & Aikman Products, LLC (“C&A Products”) filed by

 4   Plaintiffs California Department of Toxic Substances Control and the Toxic Substances Control

 5   Account (collectively, “DTSC”). The facts stated in this declaration are based on my personal

 6   knowledge and on my review of files which DTSC maintains in the regular course of business

 7   and files DTSC obtained from Solano County and the Central Valley Regional Water Quality

 8   Control Board (“Water Board”). If called as a witness, I could and would competently testify to

 9   the following:

10           2.       I have been employed by DTSC since January 2008, and am currently employed

11   by DTSC as a Hazardous Substances Engineer. My job duties include working in the National

12   Priorities List Unit (“NPL Unit”) within the Site Mitigation and Restoration Program. The NPL

13   Unit conducts and oversees response actions under the Hazardous Substances Account Act,

14   California Health and Safety Code section 25300 et seq. and its federal counterpart, the

15   Comprehensive Environmental Response, Compensation and Liability Act of 1980, 42 U.S.C.

16   section 9601 et seq. (“CERCLA”).

17           3.       DTSC is the state agency responsible for enforcing California Health and Safety

18   Code Section 25300 et seq., and for investigating and remediating hazardous substances releases

19   at sites in California.

20           4.       As part of my responsibilities at DTSC, I oversee the investigation and cleanup of

21   contaminated sites in California. I am currently the Project Manager for a contaminated site

22   known as at the former Wickes Forest Industries Site, located at the intersection of A Street and

23   Holdener Road in the unincorporated community of Elmira, Solano County, California, identified

24   by Solano County Assessor/Recorder’s Parcel Numbers 142-010-130, 142-010-140,

25   and 142-042-010 (the “Site”). I have visited the Site on many occasions, and have participated

26   in, among other things, Site inspections and oversight of groundwater sampling. I have obtained

27   and reviewed historical documents concerning the Site from DTSC’s files. I have also reviewed

28   documents obtained from Solano County and the Water Board. As the Project Manager for the
                                                       2

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 1   Site, I have also managed contracts and the staff of environmental engineering firms who have

 2   worked at the Site on behalf of DTSC.

 3                                              Site History

 4          5.      Prior to 1972, the Site was used for agriculture. See page 8 of the Remedial

 5   Investigation Report dated July 2008, a true and correct copy of which is attached hereto as

 6   Exhibit A. At various times since 1972, hazardous substances within the definition of

 7   section 101(14) of CERCLA, 42 U.S.C. section 9601(14), were released into the environment at

 8   and from the Site within the meaning of section 101(22) of CERCLA, 42 U.S.C. section

 9   9601(22). First Amended Complaint, Docket No. 77 (“FAC”), ¶ 19. These hazardous substances

10   included arsenic, chromium, and copper, which were constituents of wood preserving chemicals

11   used at the Site. Ibid.

12          6.      Defendant Pacific Wood Preserving (“PWP”) conducted wood preserving

13   operations at the Site from approximately 1972 through on or about September 12, 1979. FAC, ¶

14   17. Spills of hazardous substances occurred at the Site during PWP’s ownership and operation.

15          7.      On approximately September 12, 1979, The Wickes Corporation (“Wickes”)

16   purchased the Site, subsequently conducting business operations at the Site until approximately

17   1982. FAC, ¶ 16. Wickes and its eventual successor, defendant C&A Products, continued to

18   own the Site until about March 20, 1997. Ibid.

19          8.      From on or about September 12, 1979 through approximately 1982, Wickes

20   conducted wood preserving operations at the Site. FAC, ¶ 18. Spills of hazardous substances

21   occurred at the Site during Wickes and C&A Products’s ownership and operation.

22          9.      On December 24, 1979, a large amount of green liquid flowed from a large tank

23   located in the yard at the Site. See Solano County Sheriff’s Department report regarding tank

24   overflow on December 24, 1979, dated December 24, 1979, a true and correct copy of which is

25   attached hereto as Exhibit B, at 2. The wind blew the liquid beyond a safety trough around the

26   tank and onto the driveway of the company’s building, and flowed down the driveway onto A

27   Street into the drainage ditch running along A Street. Ibid. This liquid flowed down the drainage

28   ditch for approximately 150 yards. Ibid. The Site manager admitted that the substance that had
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 1   flowed into the drainage was a mixture of water, copper, chromium, and arsenic. Id. at 3.

 2           10.     On November 7, 1980, a well water supply valve malfunctioned, causing water to

 3   flow into a mixing tank that had about 1.5 feet of sludge in it. The spill travelled along the A

 4   Street ditch, both east and west of the Site entrance. See Solano County Memo from David

 5   Eubanks to Albert Vervais regarding wastewater spill on November 7, 1980, dated

 6   November 25, 1980, a true and correct copy of which is attached hereto as Exhibit C; Letter from

 7   Central Valley Regional Water Quality Control Board (“CVRWQCB”) to Wickes regarding spill

 8   on November 7, 1980, dated December 10, 1980, a true and correct copy of which is attached

 9   hereto as Exhibit D; CVRWQCB Memorandum from J. Lawrence Pearson to Kathleen Harder

10   regarding spill on November 7, 1980, dated December 10, 1980, a true and correct copy of which

11   is attached hereto as Exhibit E; Letter from CVRWQCB to Wickes that references the spill on

12   November 7, 1980, dated April 30, 1981, a true and correct copy of which is attached hereto as

13   Exhibit F; Memo with history and status that references 1978 and 1980 spills dated December

14   21, 1981, a true and correct copy of which is attached hereto as Exhibit G; and Letter and Order

15   from CVRWQCB to Wickes regarding spill on November 7, 1980, dated June 9, 1982, a true and

16   correct copy of which is attached hereto as Exhibit H. The mixture overflowed onto the

17   surrounding soil and travelled through a drainage ditch in front of the Site on A Street. Exhibit E,

18   at 1; Exhibit F, at 1.

19           11.     Investigations conducted at the Site showed that soil and groundwater were

20   contaminated with arsenic, chromium, and copper, and that impacted groundwater had migrated

21   offsite to the south and east. See page 1 of the Quarterly Groundwater Monitoring Report dated

22   April 2018, a true and correct copy of which is attached hereto as Exhibit I.

23                            Response Actions and Response Costs at the Site

24           12.     From the 1980s through 2005, Wickes and its successor Collins & Aikman

25   Products Co. took various actions under oversight of DTSC and its predecessor agency to address

26   environmental contamination at, around, and/or beneath the Site. FAC, ¶ 20. Those actions

27   included, among other things, soil excavation, installing an asphalt cap over contaminated soils,

28   constructing a building and a drainage system over another contaminated area of the Site,
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 1   installing and operating a groundwater extraction and treatment system, and stormwater and

 2   groundwater monitoring. Ibid.

 3          13.      On or about March 20, 1997, C&A Products sold the Site to Jim Dobbas, Inc.

 4   (“Dobbas”), and Continental Rail, Inc. (“CRI”). FAC, ¶ 22. On or about May 17, 2005, C&A

 5   Products filed a Chapter 11 petition in the United States Bankruptcy Court for the Eastern District

 6   of Michigan, Case No. 05-55932. FAC, ¶ 23. In July or August 2005, while in Chapter 11

 7   bankruptcy proceedings, Collins & Aikman Products Co. stopped operating the groundwater

 8   extraction and treatment system, and stopped taking other action to address contamination at,

 9   around, and/or beneath the Site. FAC, ¶ 24. DTSC was notified that Collins & Aikman Products

10   Co. had stopped operating the groundwater extraction and treatment system in early November

11   2005. Ibid.

12          14.      In 2006, DTSC requested that Dobbas and CRI, the then-owners of the Site, carry

13   out response actions to address contamination at the Site. FAC, ¶ 25. In December 2007, Dobbas

14   agreed to perform certain actions at the Site, which included limited maintenance of the asphalt

15   cap and repair of a roof drainage system for a building over an area that was a source of

16   contamination at the Site. FAC, ¶ 27. However, Dobbas and CRI failed and refused to perform

17   most of the actions formerly conducted by Collins & Aikman Products Co. to address

18   contamination at, around, and/or beneath the Site. Ibid. As a result, DTSC issued Imminent and

19   Substantial Endangerment Determination, Docket Number I/SED 06/07-011 (“ISE

20   Determination”) on November 9, 2006, and reevaluated the proposed response actions at the Site.

21   See ¶¶ 2.4.1 and 4.1 of the ISE Determination, a true and correct copy of which is attached hereto

22   as Exhibit J.

23          15.      After 2005, the groundwater extraction and treatment system fell into a state of

24   disrepair, and the extensive repairs necessary to make it operational made its operation no longer

25   cost-effective. Exhibit A, at 2. Therefore, at DTSC’s request, the groundwater extraction and

26   treatment system and associated equipment were removed from the Site and properly disposed of

27   offsite. Exhibit A, at 2, 11. DTSC then reevaluated response actions for the Site. Exhibit A, at 2.

28   In July 2010, the Department finalized a Removal Action Workplan (“RAW”) for the Site that
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 1   called for contaminated soil excavation, off-site disposal, backfilling, confirmation sampling,

 2   demolition of the groundwater extraction and treatment system, and long-term groundwater

 3   monitoring. FAC, ¶ 29. The RAW noted that contaminated groundwater had migrated from

 4   beneath the Site to the nearby residential area, which created the potential for exposure to

 5   contaminants if groundwater were used for irrigation or if crop or orchard tress roots contacted

 6   shallow contaminated groundwater. See Pages 3-1 and 3-6 to 3-8 and Figures 3-1 and 3-5 of the

 7   Draft Final Removal Action Workplan dated October 2009, a true and correct copy of which is

 8   attached hereto as Exhibit K.

 9          16.     On or about February 11, 2011, defendants Dobbas and CRI sold the Site to

10   defendant David Van Over for $2.00. FAC, ¶ 30. On March 16, 2011, DTSC issued Imminent or

11   Substantial Endangerment Determination Order and Remedial Action Order, Docket Number

12   I/SE 10/11-008 (“ISE Order”) ordering Dobbas, CRI, and Van Over to conduct the response

13   actions described in the RAW and to take additional response actions at the Site. FAC, ¶ 31. A

14   true and correct copy of the ISE Order is attached hereto as Exhibit L. Dobbas, CRI, and Van

15   Over failed to comply with the ISE Order. FAC, ¶ 32.

16          17.     At present, DTSC’s ongoing work at the Site includes monitoring the condition of

17   the asphalt cap and conducting groundwater monitoring and reporting. See the 2016 Five-Year

18   Review Report, a true and correct copy of which is attached hereto as Exhibit M, at 17.

19   Continued groundwater monitoring and evaluation of the condition of the asphalt cap are

20   necessary to ensure contaminants below the cap are not mobilized by infiltration of precipitation,

21   and to block direct exposure of contaminated soil to humans and environmental receptors. Ibid.

22   Continued groundwater monitoring and reporting is necessary to further assess the performance

23   of the 2011 soil excavation, to make certain that the Site is not causing further groundwater

24   contamination, and to ensure that contaminant concentrations at the four off-Site private irrigation

25   wells do not exceed drinking water standards. Ibid.

26          18.     DTSC has incurred costs for “response,” and continues to incur costs for response,

27   as that term is defined in CERCLA section 101(25), 42 U.S.C. § 9601(25), in taking actions

28   related to the release and/or threatened release of hazardous substances at, around, and/or beneath
                                                      6

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 1   the Site. FAC, ¶ 33. To date, DTSC’s response actions at the Site include, but are not limited to,

 2   the following activities: efforts to repair and restart the groundwater extraction and treatment

 3   system, completion of a remedial investigation for site soils, preparation and implementation of

 4   the RAW, groundwater monitoring, and monitoring the condition of the asphalt cap. Ibid.

 5          19.     I have visited the Site multiple times, and currently direct and oversee the

 6   groundwater monitoring at the Site. Groundwater monitoring includes groundwater sampling and

 7   reporting on a quarterly basis to evaluate contaminant trends and ensure the protection of the

 8   public. Exhibit M, at 8-9. Groundwater samples are collected from monitoring wells located on

 9   the Site and off-Site within the surrounding neighborhood. Ibid. Several wells used by residents

10   for landscape irrigation are also sampled. Ibid. November 2017 sampling results from wells on

11   the Site and off-Site were above remedial action objectives. See the Semi-Annual Groundwater

12   Monitoring Report – November 2017, a true and correct copy of which is attached hereto as

13   Exhibit N, at 7-8.

14          20.     DTSC’s contractor recently evaluated the effectiveness of the 2011 soil removal

15   action and other remedial actions undertaken at the Site as part of the 2016 Five-Year Review

16   Report. The Protectiveness Statement in the Five-Year Review Report identifies lack of

17   maintenance of the cap and surface drainage systems as issues that could compromise the

18   integrity of the cap and its ability to function as a barrier to exposure. See Exhibit M at 18. The

19   Five-Year Review Report indicated that once cracks in the cap are mitigated, the surface

20   drainages cleared of weeds, and the cap maintained as specified, the remedy should be protective.

21   Ibid. Until the cap is regularly maintained, however, and DTSC receives and evaluates additional

22   groundwater sampling data, DTSC cannot conclude that all Site actions are complete, or that

23   further response actions will not be necessary.

24         I declare under penalty of perjury that the foregoing is true and correct to the best of my

25   ///

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 1    knowledge and that this declaration was executed in Sacramento, California on         , 2019.

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 4                                                               s, r.
                                                 ProJec Manager
 5                                               Site Mitigation and Restor. tion Progra,
                                                 Dept. of Toxic Substance Control
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